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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


 DELBERT PARKER,

               Plaintiff,

 v.                                                       Case No: 21-1068-EFM

 AMERICAN FAMILY MUTUAL INSURANCE
 COMPANY, S.I.,


               Defendant.



                            AGREED PROTECTIVE ORDER

       The parties agree during the course of discovery it may be necessary to disclose

certain confidential information relating to the subject matter of this action. They agree

certain categories of such information should be treated as confidential, protected from

disclosure outside this litigation, and used only for purposes of prosecuting or defending

this action and any appeals. The parties jointly request entry of a protective order to limit

the disclosure, dissemination, and use of certain identified categories of confidential

information.

       The parties assert in support of their request that protection of the identified

categories of confidential information is necessary because this case will concern the

discovery of Plaintiff’s personal health care records and Plaintiff’s non-public financial

information.

       For good cause shown under Fed. R. Civ. P. 26(c), the court grants the parties’ Joint
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request for Protective Order and hereby enters the following Protective Order:

       1.     Scope. All documents and materials produced in the course of discovery of

this case, including initial disclosures, responses to discovery requests, all deposition

testimony and exhibits, and information derived directly therefrom (hereinafter,

collectively, “documents”), are subject to this Order concerning Confidential Information

as set forth below.    As there is a presumption in favor of open and public judicial

proceedings in the federal courts, this Order will be strictly construed in favor of public

disclosure and open proceedings wherever possible.

       2.     Definition of Confidential Information.             As used in this Order,

“Confidential Information” is defined as information that the producing party designates

in good faith has been previously maintained in a confidential manner and should be

protected from disclosure and use outside the litigation because its disclosure and use are

restricted by statute or could potentially cause harm to the interests of the disclosing party

or nonparties. For purposes of this Order, the parties will limit their designation of

“Confidential Information” to the following categories of information or documents:

       a.     Personal Information of the Parties, including home addresses, social

security numbers, phone numbers, and/or any other identifying information.

       b.     Non-public financial information of Plaintiff, including tax records, or other

financial information related to Plaintiff.

       c.     Health care information related to Plaintiff.


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       d.      Information created and maintained by Defendant in the Course of its

business operations, including policies, procedures, bulletins, training materials, internal

reference materials, guidelines and other documents created by the Defendant with respect

to its operations.

       e.      Any testimony regarding Confidential Information as defined in Paragraphs

2(a)-(d) above.

       f.      Extracts and summaries prepared from such materials set forth in Paragraphs

2(a)-(d) above.

       g.      Those portions of briefs, affidavits, memoranda, depositions, or other

writings, including exhibits thereto, which contain or refer to the Confidential Information.

       Information or documents that are available to the public may not be designated as

Confidential Information.

       3.      Form and Timing of Designation. The producing party may designate

documents as containing Confidential Information and therefore subject to protection

under this Order by marking or placing the words “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” (hereinafter, “the marking”) on the document and on all copies

in a manner that will not interfere with the legibility of the document. As used in this

Order, “copies” includes electronic images, duplicates, extracts, summaries, or descriptions

that contain the Confidential Information. The marking will be applied prior to or at the

time the documents are produced or disclosed. Applying the marking to a document does


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not mean that the document has any status or protection by statute or otherwise except to

the extent and for the purposes of this Order. Copies that are made of any designated

documents must also bear the marking, except that indices, electronic databases, or lists of

documents that do not contain substantial portions or images of the text of marked

documents and do not otherwise disclose the substance of the Confidential Information are

not required to be marked. By marking a designated document as confidential, the

designating attorney or party appearing pro se thereby certifies that the document contains

Confidential Information as defined in this Order.

       4.     Inadvertent Failure to Designate. Inadvertent failure to designate any

document or material as containing Confidential Information will not constitute a waiver

of an otherwise valid claim of confidentiality pursuant to this Order, so long as a claim of

confidentiality is asserted within fourteen (14) days after discovery of the inadvertent

failure.

       5.     Depositions. Deposition testimony will be deemed confidential only if

designated as such when the deposition is taken or within a reasonable time after receipt of

the deposition transcript. Such designation must be specific as to the portions of the

transcript and/or any exhibits to be protected.

       6.     Protection of Confidential Material.

              (a)    General Protections. Designated Confidential Information must be

used or disclosed solely for purposes of prosecuting or defending this lawsuit, including


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any appeals or any other related legal proceeding brought by one of the parties to this

litigation.

               (b)     Who May View Designated Confidential Information. Except

with the prior written consent of the designating party or prior order of the court, designated

Confidential Information may only be disclosed to the following persons:

               (1)     The parties to this litigation, including any employees, agents,
                       and representatives of the parties;1

               (2)     Counsel for the parties and employees and agents of counsel;

               (3)     The court and court personnel, including any special master
                       appointed by the court, and members of the jury;

               (4)     Court reporters, recorders, and videographers engaged for
                       depositions;

               (5)     Any mediator appointed by the court or jointly selected by the
                       parties;

               (6)     Any expert witness, outside consultant, or investigator retained
                       specifically in connection with this litigation, but only after
                       such persons have completed the certification contained in
                       Attachment A, Acknowledgment and Agreement to be Bound;

               (7)     Any potential, anticipated, or actual fact witness and his or her
                       counsel, but only to the extent such confidential documents or
                       information will assist the witness in recalling, relating, or

1
 If the confidential documents contain highly sensitive trade secrets or other highly sensitive com-
petitive or confidential information, and disclosure to another party would result in demonstrable
harm to the disclosing party, the parties may stipulate or move for the establishment of an
additional category of protection (e.g., Attorneys’ Eyes Only) that prohibits disclosure of such
documents or information to that category or that limits disclosure only to specifically designated
in-house counsel or party representative(s) whose assistance is reasonably necessary to the conduct
of the litigation and who agree to be bound by the terms of the Order.


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                    explaining facts or in testifying, and only after such persons
                    have completed the certification contained in Attachment A;

             (8)    The author or recipient of the document (not including a person
                    who received the document in the course of the litigation);

             (9)    Independent providers of document reproduction, electronic
                    discovery, or other litigation services retained or employed
                    specifically in connection with this litigation; and

             (10)   Other persons only upon consent of the producing party and on
                    such conditions as the parties may agree.

             (c)    Control of Documents. The parties must take reasonable efforts to

prevent unauthorized or inadvertent disclosure of documents designated as containing

Confidential Information pursuant to the terms of this Order. Counsel for the parties must

maintain a record of those persons, including employees of counsel, who have reviewed or

been given access to the documents, along with the originals of the forms signed by those

persons acknowledging their obligations under this Order.

      7.     Filing of Confidential Information. If a party seeks to file any document

containing Confidential Information subject to protection under this Order, that party must

take appropriate action to ensure that the document receives proper protection from public

disclosure, such as: (a) filing a redacted document with the consent of the party who

designated the document as confidential; or (b) where appropriate (e.g., in relation to

discovery and evidentiary motions), submitting the document solely for in camera review;

or (c) when the preceding measures are inadequate, seeking permission to file the document

under seal by filing a motion for leave to file under seal in accordance with D. Kan. Rule

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5.4.6.

         Nothing in this Order will be construed as a prior directive to allow any document

to be filed under seal. The mere designation of information as confidential pursuant to

this Order is insufficient to satisfy the court’s requirements for filing under seal in light of

the public’s qualified right of access to court dockets. The parties understand that the

requested documents may be filed under seal only with the permission of the court after

proper motion. If the motion is granted and the requesting party permitted to file the

requested documents under seal, only counsel of record and unrepresented parties will have

access to the sealed documents. Pro hac vice attorneys must obtain sealed documents

from local counsel.

         8.    Challenges to a Confidential Designation.            The designation of any

material or document as Confidential Information is subject to challenge by any party.

Before filing any motion or objection to a confidential designation, though, the objecting

party must meet and confer in good faith to resolve the objection informally without

judicial intervention. A party that elects to challenge a confidentiality designation may

file a motion that identifies the challenged material and sets forth in detail the basis for the

challenge; the parties are strongly encouraged to consider arranging a telephone conference

with the undersigned magistrate judge before filing such a motion, but such a conference

is not mandatory. The burden of proving the necessity of a confidentiality designation

remains with the party asserting confidentiality. Until the court rules on the challenge, all


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parties must continue to treat the materials as Confidential Information under the terms of

this Order.

       9.      Use of Confidential Documents or Information at Trial or Hearing.

Nothing in this Order will be construed to affect the use of any document, material, or

information at any trial or hearing. A party that intends to present or anticipates that

another party may present Confidential Information at a hearing or trial must bring that

issue to the attention of the court and the other parties without disclosing the Confidential

Information. The court may thereafter make such orders as are necessary to govern the

use of such documents or information at the hearing or trial.

       10.     Obligations on Conclusion of Litigation.

               (a)   Order Remains in Effect. Unless otherwise agreed or ordered, all

provisions of this Order will remain in effect and continue to be binding after conclusion

of the litigation.

               (b)   Return of Confidential Documents.           Within 30 days after this

litigation concludes by settlement, final judgment, or final order, including all appeals, all

documents designated as containing Confidential Information, including copies as defined

above, must be returned to the party who previously produced the document unless: (1)

the document has been offered into evidence or filed without restriction as to disclosure;

(2) the parties agree to destruction of the document to the extent practicable in lieu of




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return; 2 or (3) as to documents bearing the notations, summations, or other mental

impressions of the receiving party, that party elects to destroy the documents and certifies

to the producing party that it has done so.

               (c)    Retention      of   Work      Product.    Notwithstanding       the   above

requirements to return or destroy documents, counsel may retain attorney work product,

including an index which refers or relates to designated Confidential Information, so long

as that work product does not duplicate verbatim substantial portions of the text or images

of designated documents. This work product will continue to be confidential under this

Order. An attorney may use his or her own work product in subsequent litigation provided

that its use does not disclose Confidential Information.

       11.     Order Subject to Modification. This Order is subject to modification by

the court on its own motion or on motion of any party or any other person with standing

concerning the subject matter. The Order must not, however, be modified until the parties

have been given notice and an opportunity to be heard on the proposed modification.

       12.     Enforcement of Protective Order. Even after the final disposition of this

case, a party or any other person with standing concerning the subject matter may file a

motion to seek leave to reopen the case for the limited purpose of enforcing or modifying


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 The parties may choose to agree that the receiving party must destroy documents containing
Confidential Information and certify the fact of destruction, and that the receiving party is not
required to locate, isolate, and return e-mails (including attachments to e-mails) that may include
Confidential Information, Confidential Information contained in deposition transcripts, or
Confidential Information contained in draft or final expert reports.


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the provisions of this Order.

       13.    No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing in this Order will be construed or presented as a judicial determination that any

document or material designated as Confidential Information by counsel or the parties is

entitled to protection under Fed. R. Civ. P. 26(c) or otherwise until such time as the court

may rule on a specific document or issue.

       14.    Persons Bound by Protective Order. This Order will take effect when

entered and is binding upon all counsel of record and their law firms, the parties, and

persons made subject to this Order by its terms.

       15.    Applicability to Parties Later Joined. If additional persons or entities

become parties to this lawsuit, they must not be given access to any Confidential

Information until they execute and file their written agreement to be bound by the

provisions of this Order.

       16.    Protections Extended to Third-Party’s Confidential Information. The

parties agree to extend the provisions of this Protective Order to Confidential Information

produced in this case by third parties, if timely requested by the third party.

       17.    Confidential Information Subpoenaed or Ordered Produced in Other

Litigation. If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this


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action as Confidential Information, the receiving party must so notify the designating party,

in writing, immediately and in no event more than three business days after receiving the

subpoena or order. Such notification must include a copy of the subpoena or court order.

       The receiving party also must immediately inform in writing the party who caused

the subpoena or order to issue in the other litigation that some or all of the material covered

by the subpoena or order is the subject of this Order, and deliver a copy of this Order

promptly to the party in the other action that caused the subpoena to issue.

       The purpose of imposing these duties is to alert the interested persons to the

existence of this Order and to afford the designating party in this case an opportunity to try

to protect its Confidential Information in the court from which the subpoena or order

issued. The designating party bears the burden and the expense of seeking protection in

that court of its Confidential Information, and nothing in these provisions should be

construed as authorizing or encouraging a receiving party in this action to disobey a lawful

directive from another court. The obligations set forth in this paragraph remain in effect

while the party has in its possession, custody, or control Confidential Information

designated by the other party to this case.

       18.    Disclosure of Confidential Information Covered by Attorney-Client

Privilege or Work Product.          Whether inadvertent or otherwise, the disclosure or

production of any information or document that is subject to an objection on the basis of

attorney-client privilege or work-product protection, including, but not limited to,


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information or documents that may be considered Confidential Information under the

Protective Order, will not be deemed to waive a party’s claim to its privileged or protected

nature or estop that party or the privilege holder from designating the information or

document as attorney-client privileged or subject to the work-product doctrine at a later

date. Any party receiving any such information or document must return it upon request

to the producing party. Upon receiving such a request as to specific information or

documents, the receiving party must return the information or documents to the producing

party within seven (7) days, regardless of whether the receiving party agrees with the claim

of privilege and/or work-product protection. Disclosure of the information or document

by the other party prior to such later designation will not be deemed a violation of the

provisions of this Order. Although the provisions of this section constitute an order

pursuant to Rule 502(d) and (e) of the Federal Rules of Evidence, and will be construed in

a manner consistent with the maximum protection provided by said rule, nothing in this

Order is intended or will be construed to limit a party’s right to conduct a review of

documents, including electronically-stored information, for relevance, responsiveness, or

segregation of privileged or protected information before production.

       IT IS SO ORDERED.

       Dated: June 1, 2021

                                           s/ James P. O’Hara
                                          James P. O’Hara
                                          U.S. Magistrate Judge


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WE SO MOVE                                WE SO MOVE
and agree to abide by the                 and agree to abide by the
terms of this Order                       terms of this Order


  /s/ Patrick A. Turner                    /s/ Mark E. Meyer
Signature                                 Signature

Patrick A. Turner                         Mark E. Meyer
Printed Name                              Printed Name


Counsel for: Plaintiff                    Counsel for: Defendant


Dated: 06/01/2021                         Dated: 06/01/2021




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                                    ATTACHMENT A

             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Protective Order

dated _______________ in the case captioned, DELBERT PARKER v. AMERICAN

FAMILY MUTUAL INSURANCE COMPANY, S.I., and attached hereto, understands the

terms thereof, and agrees to be bound by its terms. The undersigned submits to the

jurisdiction of the United States District Court for the District of Kansas in matters relating

to this Protective Order and understands that the terms of the Protective Order obligate

him/her to use materials designated as Confidential Information in accordance with the

order solely for the purposes of the above-captioned action, and not to disclose any such

Confidential Information to any other person, firm, or concern, except in accordance with

the provisions of the Protective Order.

        The undersigned acknowledges that violation of the Protective Order may result in

penalties for contempt of court.

Name:                        ______________________________________

Job Title:                   ______________________________________

Employer:                    ______________________________________

Business Address:            ______________________________________

                             ______________________________________

Date: _____________          ______________________________________
                             Signature
